Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 1 of 10




                                                            Exhibit A Page 12
Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 2 of 10




                                                            Exhibit A Page 13
Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 3 of 10




                                                            Exhibit A Page 14
Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 4 of 10




                                                            Exhibit A Page 15
Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 5 of 10




                                                            Exhibit A Page 16
Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 6 of 10




                                                            Exhibit A Page 17
Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 7 of 10




                                                            Exhibit A Page 18
Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 8 of 10




                                                            Exhibit A Page 19
Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 9 of 10




                                                            Exhibit A Page 20
Case 2:13-cv-01282-KJM-AC Document 2-3 Filed 06/26/13 Page 10 of 10




                                                             Exhibit A Page 21
